                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


  In Re:

  Laura Lynne Lucas,                                        Case No. 19-30218-jda
                                                            Chapter 7
                     Debtor(s),                 /           Hon. Joel D. Applebaum

  Tracy B. Sutton,

                     Plaintiff,
  v.
                                                            Adv. Proc. No.    19-03039
  Laura Lynn Lucas,
                Defendant,                      /


                        ADVERSARY PROCEEDING SCHEDULING ORDER


       After consultation with the parties, pursuant to Fed. R. Bankr. P. 7016 and 7026, and the parties
having conducted a conference and Plaintiff having submitted a written report thereof (A26(f) Report@)
under Fed. R. Civ. P. 26(f),
       IT IS HEREBY ORDERED that further proceedings in this case shall be governed by the
following:


                                                   I.
                        Discovery Plan and Other Provisions of Rule 26(f) Report

       The Rule 26(f) Report was modified at the Scheduling Conference.       As a result, the following
dates shall apply:
       1. Initial Disclosures under F.R. Civ.P. 26(a)(1) shall be provided by the parties on or before
             July 10, 2019;
       2. Discovery shall be completed by September 16, 2019;
       3. Interrogatories shall not be permitted;
       4. Requests for Admissions, if any, shall be responded to no later than 30 days after
             service;
       5. Depositions shall not be permitted without further order of the Court;


       19-03039-jda        Doc 18   Filed 06/26/19    Entered 06/26/19 16:56:45        Page 1 of 3
       6. All potentially dispositive motions must be filed on or before October 28, 2019.
                                                    II.
                                   Filing of Joint Final Pretrial Order

       A joint final pretrial order prepared in accordance with E.D.Mich.LBR 7016-1 shall be
submitted for entry at least seven (7) days before the final pretrial conference. In the portion of
the joint final pretrial order designated AIssues of Law to be Litigated@, each party shall provide after
each listed issue, that party=s three strongest reported cases in support of its view of the law.

                                                  III.
                                                Mediation

       The Court encourages the parties to consider mediation of this adversary proceeding pursuant
to E.D.Mich.LBR 7016-2.        If all parties agree to mediation, the parties should file a stipulation and
submit to the Court a proposed order appointing the mediator.        If the parties have agreed to select a
mediator from the list of approved mediators on the Court's website, the proposed order should contain
the name of the mediator when it is submitted to the Court for entry. If the parties have not agreed
on the name of the mediator, the proposed order appointing the mediator should be submitted without
a mediator's name, and the Court will then select a mediator from the approved list and indicate such
person's name in the order that is entered.    All mediation must be concluded no later than five days
before the final pretrial conference scheduled by this order. Except for good cause shown, the Court
will not adjourn the final pre-trial conference or the trial to permit mediation to continue past the
deadline set by this order.   If the parties desire to further discuss mediation with the Court, the parties
shall jointly contact Jill Mcfarlane, Judge Applebaum’s Courtroom Deputy, to arrange a time for a
conference call or a conference in chambers with the Court.

                                                    IV.
                                        Final Pretrial Conference

       A final pretrial conference will be held on December 18, 2019 at 1:30 p.m. (EST) before
the Honorable Joel D. Applebaum in his courtroom located at 226 West Second Street, Flint,
Michigan.

                                                     V.
                                    Trial Date(s) in Bankruptcy Court

       THE TRIAL OF THIS MATTER SHALL COMMENCE ON January 13, 2020 at 9:30
a.m. (EST) before the Honorable Joel D. Applebaum in his courtroom located at 226 West Second


      19-03039-jda       Doc 18      Filed 06/26/19      Entered 06/26/19 16:56:45         Page 2 of 3
Street, Flint, Michigan.

                                                 VI.
                                        Miscellaneous Matters

       (a)     Adjournment(s) or Changes in this Order

               Requests for adjournment of the final pre-trial conference or the trial are governed by
E.D.Mich.LBR 5071-1. Any changes in any other dates or provisions of this order are to be sought
in accordance with E.D.Mich.LBR 9014-1, or by written stipulation provided that in any case good
cause shall be shown, and approval of the Court is required.

       (b)     Exhibits and Discovery Disputes

               The parties shall bring all proposed exhibits to the final pre-trial conference for
marking, and, if possible, admission into evidence by stipulation. Parties are encouraged to resolve
disputes before a motion regarding discovery is filed and are directed to strictly comply with
E.D.Mich.LBR 9014-1(g) and (h) if a motion is ultimately required.

       (c)     Settlement

               Note should be taken of E.D.Mich.LBR 9019-1 relative to settlements.

       (d)     Status or Pretrial Conference Request

                Any party may request a status conference (or a conference to discuss or further consult
about this order) by a communication, in writing, addressed to the Court with copies to opposing or
other counsel and/or any pro se parties. Upon receipt of such a request (or sua sponte) the Court will
schedule such a conference (in person or by phone) if the Court believes it will advance or be helpful
in the disposition of this proceeding.

       (e)     Filing of Discovery Materials

               See E.D.Mich.LBR 7026-1 regarding the filing of discovery materials.




Signed:
Signed on June 26, 2019




      19-03039-jda         Doc 18   Filed 06/26/19     Entered 06/26/19 16:56:45       Page 3 of 3
